IN THE UNITED STATE§&%[SY§LT COURT

Case 2:05-cr-201§€)-§F21%E W§§Mll§ls|§ %§INPE§Q%B of 2 Page|D 22

 

    

 

 

WESTERN DIVISION de
UNITED sTATEs oF AMERICA, ““ = ` ‘ "-`? '- '
Plaintiff, `
r.u_r“: ice
v. Cr. No. 05-20139-Ml
SYLVESTER CRAWFORD,
Defendant.
ORDER ON ARRAIGNMENT
This cause came to be heard on 5/=2‘.'3_' /O 5- . The Assistant United States

 

Attorney appeared on behalf of the government, and the defendant appeared in person and With the
following counsel, who is retained/appointed:

 

 

 

NAME: g LMLMML.

ADDRESS? 573 /\/ - @’.mf' 'S'f_r'rc°f~
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The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
Shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his/her present bond.

\'/ The defendant, énet-having smade,bond) (being#a_state_plisonei=) (beng-a-federal-.
prisoner) (being~held WithoutbondpursuanttoB&AeleS¢L}, is remanded to the custody of the U.S.

 

Marshal.
<§ """ §
. /Ama=¢ /,¢,..)
United States Magistrate Judge
Charges: felon in possession of a firearm

Assistant U.,S Attorney assigned to case: Hall

The defendant's age is: § l .

Tl'n`s document entered on the docket sheet in compliance

with Ruie 55 and/or zz(b) FRch on 5 ' 7 b ’ 65 @

UNITED sTATE DISTRIC COUR - WTERN D's'TRCT OFTENNESSEE

    

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This notice confirms a copy of the document docketed as number 16 in
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Eugene A. Laurenzi

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Honorable J on McCalla
US DISTRICT COURT

